                             3:20-cv-03233-SEM-TSH # 148-1   Page 1 of 34
                                                                                              E-FILED
                                                                     Friday, 07 May, 2021 04:58:39 PM
  From:    Airbnb express@airbnb.com
                                                                         Clerk, U.S. District Court, ILCD
Subject:   Your receipt from Airbnb
   Date:   17 November 2020 at 2:26 AM
     To:   cwan75@gmail.com




      Your receipt from Airbnb
      Receipt ID: RCQHTCNSZN · Nov 16, 2020




      Chicago
      3 nights in Chicago




      Mon, Nov 16, 2020     Thu, Nov 19, 2020
      Entire home/apt · 6 beds · 2 guests
      ConHrmation code: HM3TBZN9TQ
      Go to listing




      Price breakdown
      Reservation change: +1 night



      Price di/erence                                                            $911.68



      Total adjustment (HKD)                                                     $911.68



      Previous total (HKD)                                                    $2,598.42
                 3:20-cv-03233-SEM-TSH # 148-1        Page 2 of 34



New total (HKD)                                                         $3,510.10




Payment
VISA •••• 0778                                                            $911.68
Nov 16, 2020 · 06:17PM +00:00




Amount paid (HKD)                                                         $911.68



Cancellation policy
Cancel before 4:00 PM on Nov 16 and only get a refund of the cleaning fee. More de-
tails

CutoR times are based on the listing’s local time




                            Print this receipt



                              Go to itinerary




Have a question?
Visit the Help Center



Occupancy taxes
Occupancy Taxes include Lodging Tax (Chicago), Occupancy Tax (Chicago),
Hotel Tax (Chicago), General Sales and Use Tax (Chicago), Accommodations Tax
(Chicago), Lodging Surcharge (Chicago), Accommodations Tax (Illinois), General
                                  3:20-cv-03233-SEM-TSH # 148-1                                               Page 3 of 34


(Chicago), Lodging Surcharge (Chicago), Accommodations Tax (Illinois), General
Sales and Use Tax (Illinois), Accommodations Tax (Cook), Lodging Tax (Chicago),
Occupancy Tax (Chicago), Hotel Tax (Chicago), General Sales and Use Tax
(Chicago), Accommodations Tax (Chicago), Lodging Surcharge (Chicago),
Accommodations Tax (Illinois), General Sales and Use Tax (Illinois),
Accommodations Tax (Cook), Lodging Surcharge (Chicago), General Sales and
Use Tax (Illinois), Accommodations Tax (Cook).

Airbnb Payments UK Ltd.
Airbnb Payments is a limited payment collection agent of your Host. It means
that upon your payment of the Total Fees to Airbnb Payments, your payment
obligation to your Host is satisHed. Refund requests will be processed in
accordance with: (i) the Host's cancellation policy (available on the Listing); or (ii)
Airbnb's Guest Refund Policy Terms, available at www.airbnb.com/terms.
Questions or complaints: contact Airbnb Payments UK Ltd. at +44 203 318 1111.

Security Deposit
Your Host requires a Security Deposit of $1938 HKD to book this listing. The
Guest is responsible for the amount of the Security Deposit, but it will not be
charged unless the host makes a claim. Hosts can make a claim on the deposit
within 14 days of your checkout date or before the next guest checks in,
whichever is earlier. If a claim is initiated, Airbnb Customer Service will be in
contact with both you and your Host to make sure both parties are represented
fairly. Additional details regarding the Security Deposit are available at
https://www.airbnb.com/help/article/140.




Sent with ♥ from Airbnb

​A​i​r​b​n​b​,​ ​I​n​c​.​,​ ​8​8​8​ ​B​r​a​n​n​a​n​ ​S​t​,​ ​S​a​n​ ​F​r​a​n​c​i​s​c​o​,​ ​C​A​ ​9​4​1​0​3​

Earn travel credit
                                     3:20-cv-03233-SEM-TSH # 148-1                                             Page 4 of 34


  From:    CC Wan cwan75@gmail.com
Subject:   Re: Contact request-JVDSBQVB
   Date:   20 November 2020 at 6:25 PM
     To:   NOVOTEL Citygate Hong Kong RE1 H6239-RE1@accor.com

     Hi, I hope it is fine that I ordered a exercise stepper to be delivered to Novotel this evening . It shouldn’t be very big.

     I am still waiting for the COVID test result at the HK airport. With any luck maybe I’ll be able to check in 2-3 hours. I arrived at 11am this morning.

     Best regards
     Wan
     +852 6180 0477

       On 17 Nov 2020, at 2:51 PM, NOVOTEL Citygate Hong Kong RE1 <H6239-RE1@accor.com> wrote:


       Dear Ms. Wan,

       Thank you for your email.

       In addition to our last email, we are pleased to informed you that there’s an update for your room rate
       which lower that previous offer. Please find the detail as below :

       Guest name : Ms. Chung Chui Wan
       Staying period : 20 November – 04 December 2020 (14 nights)
       Room type : one Standard room
       Room rate :
       20,27 November : HKD 1,050 subject to 10% service charge per room per night, for room
       accommodation only
       21,28 November : HKD 1,125 subject to 10% service charge per room per night, for room
       accommodation only
       22,23,24,25,26,29,30Nov, 01,02,03 December : HKD 975 subject to 10% service charge per room per
       night, for room accommodation only

       The grand total for the captioned stay period, inclusive services charge is at HKD15,510 per room, accom
       modation only.

       Should there be further assistance required, please do not hesitate to contact us.

       With best regards,

       Sarah
       Explore our latest offers at Novotel Citygate Hong Kong!

       <image001.jpg>


       <image002.png>
           Sarah Ayu Dewi

       <image003.png>
           Reservations Agent

       <image003.png>
           Sales & Marketing Department



       <image004.png>
        Novotel Citygate Hong Kong
       <image003.png>
        51 Man Tung Road, Tung Chung, Hong Kong
       <image002.png>
        T +852 3602 8800 • F +852 2109 9177
       <image005.png>
        novotel.com
       <image005.png>
        accorhotels.com
       <image005.png>
        novotelcitygate.com
                   3:20-cv-03233-SEM-TSH # 148-1                  Page 5 of 34



<image006.jpg>
<image007.jpg>

Re: Contact request-JVDSBQVB

 CC Wan <cwan75@gmail.com>
 11/17/2020 10:44:45 AM CST
 To: NOVOTEL Citygate Hong Kong RE1 <H6239-RE1@accor.com>
Thank you for your help, Sarah!

Best Regards
Wan
+852 6180 0477


On 16 Nov 2020, at 8:39 PM, NOVOTEL Citygate Hong Kong RE1 <H6239-RE1@accor.com> wrote:

Dear Ms. Wan,

Thank you for your reply.

We are pleased to confirm your booking for quarantine purpose for staying period 20 November – 04 Dec
ember 2020 (14 night) under our booking confirmation number JVDSBQVB. The confirmation letter will s
ent to your email.

Kindly notice of cancellation for our Flexible Rate is by 6pm 24 hours prior to arrival date to avoid a one-
night penalty charge. The same penalty charge will be applied should you fail to check-in on your arrival d
ate.

Moreover, since the guest is required to be quarantined for 14 days as mandated by the HKSAR governm
ent, during the stay period in our hotel, please do take note of the following:

                    ·   No housekeeping and cleaning service will be provided. Extra linens, towels, toile
                        t paper, water and plastic bag will be placed in room prior to check-in
                    ·   Only take away boxes with disposal cutlery will be provided for each room servic
                        e order. Please note orders will be placed outside of your door. Alternatively, gue
                        st can order food from out-source and our staff will collect the food and place out
                        side the door.
                    ·   No operational, repair & maintenance work will be provided in the room
                    ·   No laundry service available for quarantine guest
                    ·   Temperature check will be required on a daily basis (please bring your own therm
                        ometer)
                    ·   Guest will not be allowed to leave the room - otherwise, Centre for Health Protect
                        ion (Department of Health) will be informed immediately
                    ·   No visitors will be allowed during the 14-day compulsory quarantine period
                    ·   For any other services, please contact hotel hotline at 8008. Services requested
                        subject to Hotel’s discretion

All of the above regulations will be imposed by the hotel on top of what the HKSAR Government already
has in place. Hence, we highly recommend that you check & review all the quarantine regulations being i
mposed by HKSAR Government for persons arriving into Hong Kong (click here).

We are pleased to advise you that we do provide complimentary airport shuttle service for our in-house g
uests from 06:00am to 11:40pm at 20-minute intervals. Please proceed directly to Terminal 1, Carpark 1 –
Bays 11 to 14. Kindly note that no reservation is required as this is on a first-come-first-serve basis.
Alternatively, you may opt to take a 5-minute taxi ride to the hotel and cost is approximately HKD65 per ta
xi per ride. Note: there will be additional charges for each luggage
Notification:
                  · The hotel has become 100% non-smoking starting from 1 January 2020. In line with t
                      his policy, please note that a cleaning fee of HKD1,500 will be levied to any guest fou
                      nd to be smoking in any of our rooms.
                  · In view of the precautionary measures stated by the HKSAR Government, please not
                      e that hotel facilities have now been opened with limited capacity and new measures i
                      n place. Please accept our most sincere apologies for any inconvenience this might c
                     3:20-cv-03233-SEM-TSH # 148-1               Page 6 of 34

                     n place. Please accept our most sincere apologies for any inconvenience this might c
                     ause.


Thank you for choosing Novotel Citygate Hong Kong and please do not hesitate to contact us if we could
be of any further assistance.


With best regards,

Sarah
Explore our latest offers at Novotel Citygate Hong Kong!

<image006.jpg>

<image007.png> Sarah Ayu Dewi
<image008.png> Reservations Agent
<image008.png> Sales & Marketing Department

<image009.png> Novotel Citygate Hong Kong
<image008.png> 51 Man Tung Road, Tung Chung, Hong Kong
<image007.png> T +852 3602 8800 • F +852 2109 9177
<image010.png> novotel.com <image010.png> accorhotels.com <image010.png> novotelcitygate.com

<image001.jpg><image002.jpg>


 CC Wan <cwan75@gmail.com>
 11/17/2020 04:59:23 AM CST
 To: NOVOTEL Citygate Hong Kong RE1 <H6239-RE1@accor.com>
Sarah,

Thank you!

My last name: WAN
My first first name: Chung Chui
Credit Card no: xxxx xxxx xxxx xxxxx
Expiry date: 10/24

Best Regards
Wan
+852 6180 0477



On 15 Nov 2020, at 8:59 PM, NOVOTEL Citygate Hong Kong RE1 <H6239-RE1@accor.com> wrote:

Dear Mr. / Ms. Wan,

Thank you for your reply.

In order for us to proceed your booking please provide guest full name along with credit card information (
with expiry date) for guarantee the booking. Please be reminded that no reservation will be held until we
have received your acceptance and rates may change at the time of booking.

Should there be further assistance required, please do not hesitate to contact us.

With best regards,

Sarah
Explore our latest offers at Novotel Citygate Hong Kong!

<image001.jpg>

<image002.png> Sarah Ayu Dewi
                          3:20-cv-03233-SEM-TSH # 148-1                         Page 7 of 34

    <image002.png> Sarah Ayu Dewi
    <image003.png> Reservations Agent
    <image003.png> Sales & Marketing Department

    <image004.png> Novotel Citygate Hong Kong
    <image003.png> 51 Man Tung Road, Tung Chung, Hong Kong
    <image002.png> T +852 3602 8800 • F +852 2109 9177
    <image005.png> novotel.com <image005.png> accorhotels.com <image005.png> novotelcitygate.com

    <image008.jpg><image009.jpg>

    From: CC Wan <cwan75@gmail.com>
    Sent: Sunday, 15 November 2020 10:23 PM
    To: NOVOTEL Citygate Hong Kong RE1 <H6239-RE1@accor.com>
    Subject: Re: Contact request

    Dear Ms. Lo,

    Thank you for your reply. I would like to book the room. Do I do that through email or on your website?

    I will arrive on the following flight.

    Thu. 19 November 2020: Zurich – Hong Kong
    <image003.png>

    16:10 h            Zurich Zurich (ZRH)                                             <image005.png>LX 138
                                                                                         operated by:
    <image004.png>
                                                                                         Swiss International Air Lines
    10:30 h +1         Hong Kong Chek Lap Kok (HKG)
                       Terminal 1
    <image004.png>

    Best Regards
    Wan
    +852 6180 0477




    On 14 Nov 2020, at 11:10 PM, NOVOTEL Citygate Hong Kong RE1 <H6239-RE1@accor.com> wrote:

    Dear Mr. / Ms. Wan,

    Thank you for your interest in Novotel Citygate Hong Kong.

    Re : Rate Inquiry for 20 November - 04 December 2020 (14 nights, 1 room, up to 2 adults per room)

    Pleased to inform you that we do accept reservation for quarantine purpose and available for Standard Queen Bed Room
    accommodation only (with room size: 28sqm / bed size: 1.7m x 2.1m for queen bed room). Please find below room quotat
    ion for your kind consideration:

    We are pleased to inform you that we do have a Standard Queen Bed Room available at our Flexible Rate at HKD1,050
    on 20,27Nov,03Dec; HKD1,125 on 21,28Nov; HKD975 on 22,23,24,25,26,29,30Nov, 01,02Dec (subject to 10% service
    charge per room per night, for room accommodation only).

    The grand total for the captioned stay period, inclusive services charge is at HKD15,592.50 per room, accommodation onl
    y.

    Note 1: notice of cancellation for our Flexible Rate is by 6pm 24 hours prior to arrival date to avoid a one-night penalty ch
    arge. The same penalty charge will be applied should you fail to check-in on your arrival date.

    Note 2: since the guest is required to be quarantined for 14 days as mandated by the HKSAR government, during the sta
    y period in our hotel, please do take note of the following:

·   No housekeeping and cleaning service will be provided. Extra linens, towels, toilet paper, water and plastic bag will be pla
    ced in room prior to check-in
·   Only take away boxes with disposal cutlery will be provided for each room service order. Please note orders will be place
    d outside of your door
·   No operational, repair & maintenance work will be provided in the room
·   Temperature check will be required on a daily basis (please prepare your own thermometer)
                          3:20-cv-03233-SEM-TSH # 148-1                           Page 8 of 34


·   Temperature check will be required on a daily basis (please prepare your own thermometer)
·   Guest will not be allowed to leave the room - otherwise, Centre for Health Protection (Department of Health) will be inform
    ed immediately
·   No visitors will be allowed during the 14-day compulsory quarantine period
·   For any other services, please contact hotel hotline at 8008. Services requested subject to Hotel’s discretion
·   No laundry service can be provide for quarantine guest

    *All of the above regulations will be imposed by the hotel on top of what the HKSAR government already has in place. He
    nce, we highly recommend that you check and review all the quarantine regulations that are being imposed by HKSAR go
    vernment to all travelers arriving into Hong Kong.

    Should you find any of the above rates favorable, kindly let us know of your acceptance by return along with your credit c
    ard details, with expiry date, for guarantee. Kindly reply us as soon as possible and please be reminded that no reservatio
    n will be held until we have received your acceptance and rates may change at the time of booking.

    For dining arrangement, guest may order hotel room services on own account and based on consumption. Alternatively, g
    uest may order food delivery via outsider delivery APP, please settle all the payment in advance. And food items to be sen
    d to our Concierge Team at lobby counter, our team will assist to send the food to the guest and place outside of your roo
    m door.

    Other information:
·   Hotel check-in time is from 2:00pm and check-out time is before 12:00noon, early check-in or late check-out will be on req
    uest basis, subject to rooms availability.
·   The hotel has become 100% non-smoking starting from 1 January 2020. In line with this policy, please note that a cleanin
    g fee of HKD1,500 will be levied to any guest found to be smoking in any of our rooms.

    For your information, we provide complimentary airport shuttle service for our in-house guests from 6:00am-11:40pm at 2
    0-minute intervals. Please proceed directly to Terminal 1, Carpark 1, Bays 11 to 14. Kindly refer to the attached location m
    ap for details. Alternatively, it is a 5 minutes taxi ride to the hotel and the cost is approximately HKD65 per taxi per way. N
    ote: airport shuttle bus service is on a first-come-first-serve basis, hence, no advance reservations can be made.

    We thank you for considering Novotel Citygate Hong Kong and looking forward in hearing from you soon.

    Meanwhile, please do not hesitate to let us know if we could be of any further assistance.


    With best regards,

    Ronnie LO
    Explore our latest offers at Novotel Citygate Hong Kong!
    <image001.jpg>

    <image002.png> Ronnie LO
    <image003.png> Reservations Agent
    <image003.png> Sales & Marketing Department

    <image004.png> Novotel Citygate Hong Kong
    <image003.png> 51 Man Tung Road, Tung Chung, Hong Kong
    <image002.png> T +852 3602 8800 • F +852 2109 9177
    <image005.png> novotel.com <image005.png> accorhotels.com <image005.png> novotelcitygate.com

    <image006.jpg>
    <image007.jpg>




                <image017.png>


                                              Contact request from your website

             First Name : Chung Chui
             Last Name : Wan
             Email : cwan75@gmail.com
             Phone number : 61800477
                     3:20-cv-03233-SEM-TSH # 148-1                        Page 9 of 34


        Address :
        City :
        Zip Code :
        Country :

        Message : Dear Sir/ Madam, I would like to book a 14-day quarantine stay. I arrive in Hong
        Kong on the 20th Nov. Please let me know if you still have any availability. Regards, Wan

        IP : 173.22.231.119

From: CC Wan <cwan75@gmail.com>
Sent: Tuesday, 17 November 2020 10:45 AM
To: NOVOTEL Citygate Hong Kong RE1 <H6239-RE1@accor.com>
Subject: Re: Contact request-JVDSBQVB



                 Message from ACCORHOTELS mail server / Message du serveur de
                 messagerie ACCORHOTELS




                 This is an automatic sending of the mail server which warns you that you have
                 received a secured message containing information of payment cards.

                 Read your secure message by opening the attachment,
                 securedoc_20201117T034444.html.

                 This process has been put in place to protect the data of our customers. To transfer or
                 answer this message, thank you for deleting the attachment and the history of the
                 message.
                 You are authorized to open and read this message but do not save it on your PC.

                 First time users, will need to register after opening the attachment.
                 For more information, click the link: https://res.cisco.com



                 Ceci est un envoi automatique du serveur de messagerie qui vous avertit que vous
                 venez de recevoir un message sécurisé contenant des informations de cartes de
                 paiement.

                 Pour lire ce message, veuillez cliquer sur le fichier en pièce jointe,
                 securedoc_20201117T034444.html.

                 Cette procédure a été mise en place pour protéger les données de nos clients. Vous
                 êtes autorisé à ouvrir et lire ce message mais ne le sauvegardez pas sur votre PC.
                 Pour transférer ou répondre a ce message, merci de supprimer la pièce jointe et
                 l‘historique du message.

                 Lors de votre première utilisation, vous serez invité à vous enregistrer au service.
                 Pour plus d‘information, cliquez sur le lien suivant : https://res.cisco.com




This e-mail, any attachments and the information contained therein ("this message") are confidential and
intended solely for the use of the addressee(s). If you have received this message in error please send it back
to the sender and delete it. Unauthorized publication, use, dissemination or disclosure of this message, either
in whole or in part is strictly prohibited.
                   3:20-cv-03233-SEM-TSH # 148-1                    Page 10 of 34



Ce message electronique et tous les fichiers joints ainsi que les informations contenues dans ce message (ci
apres "le message"), sont confidentiels et destines exclusivement a l'usage de la personne a laquelle ils sont
adresses. Si vous avez recu ce message par erreur, merci de le renvoyer a son emetteur et de le detruire.
Toute diffusion, publication, totale ou partielle ou divulgation sous quelque forme que ce soit non
expressement autorisees de ce message, sont interdites.
                                      3:20-cv-03233-SEM-TSH # 148-1
Airbnb: Vacation Rentals, Cabins, Beach Houses, Unique Homes & Experiences             Page 11 of 34                         5/5/2021, 11:25 PM




                     To Itinerary



Your payment details


        Chicago

        22 nights in Chicago


        Thu, Dec 24, 2020                   Fri, Jan 15, 2021
        Entire home/apt · 4 beds · 3 guests
        ConArmation code: HMKBM9WYMR




        Payments

        17 nights in Chicago                                                                                          $26,843.12
        Dec 21, 2020 · 11:56PM UTC
        VISA •••• 0778
        Get receipt


        Reservation change: +5 nights                                                                                  $4,168.45
        Jan 02, 2021 · 10:33PM UTC
        VISA •••• 0778
        Get receipt




        Amount paid (HKD)                                                                                             $31,011.57

https://www.airbnb.com/payin_transaction_details/bill/0G42X6DJS…EuMT?bill_product_type=Reservation2&bill_product_id=HMKBM9WYMR      Page 1 of 2
                                      3:20-cv-03233-SEM-TSH # 148-1
Airbnb: Vacation Rentals, Cabins, Beach Houses, Unique Homes & Experiences             Page 12 of 34                         5/5/2021, 11:25 PM




https://www.airbnb.com/payin_transaction_details/bill/0G42X6DJS…EuMT?bill_product_type=Reservation2&bill_product_id=HMKBM9WYMR      Page 2 of 2
                            3:20-cv-03233-SEM-TSH # 148-1   Page 13 of 34


  From:    CC Wan cwan75@gmail.com
Subject:   Screenshot 2021-01-19 at 10.51.03 AM
   Date:   19 January 2021 at 11:51 PM
     To:   shawna tennyson conchiejoe35@gmail.com


       Hi Shawna

       Please see payment record.
                 3:20-cv-03233-SEM-TSH # 148-1   Page 14 of 34




Wan
+852 6180 0477
                                      3:20-cv-03233-SEM-TSH # 148-1
Airbnb: Vacation Rentals, Cabins, Beach Houses, Unique Homes & Experiences             Page 15 of 34                         5/5/2021, 11:28 PM




                     To Itinerary



Your payment details


        Chicago

        11 nights in Chicago


        Thu, Feb 11, 2021                 Mon, Feb 22, 2021
        Entire home/apt · 3 beds · 3 guests
        Con=rmation code: HMQMBY9NHT




        Payments

        10 nights in Chicago                                                                                          $18,985.49
        Jan 29, 2021 · 12:45AM UTC
        VISA •••• 0778
        Get receipt


        Reservation change: +1 night                                                                                    $1,812.20
        Feb 17, 2021 · 09:15PM UTC
        VISA •••• 0778
        Get receipt




        Amount paid (HKD)                                                                                             $20,797.69

https://www.airbnb.com/payin_transaction_details/bill/0G42XFNzo…hJONN?bill_product_type=Reservation2&bill_product_id=HMQMBY9NHT     Page 1 of 2
                                      3:20-cv-03233-SEM-TSH # 148-1
Airbnb: Vacation Rentals, Cabins, Beach Houses, Unique Homes & Experiences             Page 16 of 34                         5/5/2021, 11:28 PM




https://www.airbnb.com/payin_transaction_details/bill/0G42XFNzo…hJONN?bill_product_type=Reservation2&bill_product_id=HMQMBY9NHT     Page 2 of 2
3:20-cv-03233-SEM-TSH # 148-1   Page 17 of 34
                                                                            3:20-cv-03233-SEM-TSH # 148-1                                                                                                                       Page 18 of 34




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                             3:20-cv-03233-SEM-TSH # 148-1     Page 21 of 34


  From:    Airbnb automated@airbnb.com
Subject:   Reservation confirmed for Chicago
   Date:   9 April 2021 at 11:44 AM
     To:   cwan75@gmail.com




      Your reservation is con.rmed
      You’re going to Chicago!




      Wicker Park House w Garage & Hot Tub
      Best Location
      Entire home/apt hosted by Rodrigo


      Check-in is 3:00 PM - 10:00
      PM                                                               Get instructions
      Monday, Apr 12, 2021



      Checkout by 12:00 PM
      Monday, Apr 19, 2021



                                               View full itinerary


      Address
      2034 W Crystal St, Chicago, IL 60622,                              Get directions
      USA
                   3:20-cv-03233-SEM-TSH # 148-1     Page 22 of 34




Guests
                                                                 Invite guests
1 adult, 2 children



Cancellation policy                                                  More details

Cancel before 3:00 PM on Apr 12 and only get a re-
fund of the cleaning fee.

CutoW times are based on the listing’s local time



Payments

Payment 1 of 1
$22,024.65
Apr 09, 2021 · 03:44AM UTC
VISA •••• 0778




Amount paid (HKD)                                                    $22,024.65



Reservation code
HM5N9RTFFY




                              Change reservation


House rules                                                               Show all

       Check-in: 3:00 PM - 10:00 PM

       Checkout: 12:00 PM

       Self check-in with keypad
            3:20-cv-03233-SEM-TSH # 148-1   Page 23 of 34

    Self check-in with keypad

Safety & Property Info                                       Show all

    Security camera/recording device

    Pool/hot tub without a gate or
    lock

    Carbon monoxide alarm



Rodrigo is your host                                   Message host
Contact Rodrigo to coordinate arrival
                                                   +1 (847) 530-2881
time and key exchange.




Know what to expect
Make sure to review the House Rules               Go to House Rules
and amenities.




Customer support                                   Visit Help Center
Contact our support team 24/7 from
                                                     Contact Airbnb
anywhere in the world.




           Considering travel insurance?
      3:20-cv-03233-SEM-TSH # 148-1   Page 24 of 34



     Get information on how to protect your trip.

     Learn more




     Earn money toward your next trip
     Invite people you know to Airbnb. You’ll get up to $218
     in credit when they complete a qualifying stay and/or
     go on a qualifying experience.

     Send invites




     Check for local travel advisories
     Many places around the world are issuing new restric-
     tions on lodging and travel each day. Before you travel,
     please check the latest from the local government in
     order to keep everyone safe and healthy.

     Learn more




Refer a host,
earn $20 cash

  Learn more
                                3:20-cv-03233-SEM-TSH # 148-1                                                 Page 25 of 34




Get a friend to start hosting on Airbnb and make extra money to
fund your travels.




Sent with ♥ from Airbnb

​A​i​r​b​n​b​,​ ​I​n​c​.​,​ ​8​8​8​ ​B​r​a​n​n​a​n​ ​S​t​,​ ​S​a​n​ ​F​r​a​n​c​i​s​c​o​,​ ​C​A​ ​9​4​1​0​3​

Earn travel credit
                     3:20-cv-03233-SEM-TSH # 148-1           Page 26 of 34




RECEIPT


Kasa Living, Inc.                                                                       DATE: 5/5/2021

358 Brannan St
San Francisco, CA 94107                                                          Reservation #: MZQ8PvEBB

+1 (650) 451-3444
reservations@kasa.com


BILL TO

Chung Chui Wan
[If Applicable] <Client Company Name>
cwan75@gmail.com




                     DESCRIPTION                       QTY          UNIT PRICE              TOTAL
Accommodation Fee: [04/19] - [04/26] @ Kasa [Chicago
                                                                                            $1,188.00
South Loop]
Cleaning Fee                                                                                   $77.00

                                                                                                $0.00

                                                                                                $0.00

Remarks / Payment Method:                                                  SUBTOTAL         $1,265.00

                                                                           DISCOUNT          -$279.18

                                                             SUBTOTAL AFTER DISCOUNT          $985.82

                                                                                  TAX         $230.68


                                                                     Amount Paid $1,216.50
                     3:20-cv-03233-SEM-TSH # 148-1           Page 27 of 34




RECEIPT


Kasa Living, Inc.                                                                       DATE: 5/5/2021

358 Brannan St
San Francisco, CA 94107                                                          Reservation #: 99Q9K8Vvx

+1 (650) 451-3444
reservations@kasa.com


BILL TO

Chung Chui Wan

[If Applicable] <Client Company Name>
cwan75@gmail.com




                     DESCRIPTION                       QTY          UNIT PRICE              TOTAL
Accommodation Fee: [04/26] - [04/28] @ Kasa [Chicago
                                                                                              $274.00
South Loop]
                                                                                                $0.00

                                                                                                $0.00

                                                                                                $0.00

Remarks / Payment Method:                                                  SUBTOTAL           $274.00

                                                                           DISCOUNT           -$27.40

                                                             SUBTOTAL AFTER DISCOUNT          $246.60

                                                                                  TAX          $57.70


                                                                     Amount Paid           $304.30
                     3:20-cv-03233-SEM-TSH # 148-1           Page 28 of 34




RECEIPT


Kasa Living, Inc.                                                                      DATE: 5/5/2021

358 Brannan St
San Francisco, CA 94107                                                          Reservation #: pZQzVjyBN

+1 (650) 451-3444
reservations@kasa.com


BILL TO

Chung Chui Wan

[If Applicable] <Client Company Name>
cwan75@gmail.com




                     DESCRIPTION                       QTY          UNIT PRICE             TOTAL
Accommodation Fee: [04/28] - [04/30] @ Kasa [Chicago
                                                                                             $279.00
South Loop]
                                                                                               $0.00

                                                                                               $0.00

                                                                                               $0.00

Remarks / Payment Method:                                                  SUBTOTAL          $279.00

                                                                           DISCOUNT          -$27.90

                                                             SUBTOTAL AFTER DISCOUNT         $251.10

                                                                                 TAX          $58.76


                                                                     Amount Paid          $309.86
                     3:20-cv-03233-SEM-TSH # 148-1           Page 29 of 34




RECEIPT


Kasa Living, Inc.                                                                       DATE: 5/5/2021

358 Brannan St
San Francisco, CA 94107                                                          Reservation #: vQoYz4qo8

+1 (650) 451-3444
reservations@kasa.com


BILL TO

Chung Chui Wan

[If Applicable] <Client Company Name>
cwan75@gmail.com




                     DESCRIPTION                       QTY          UNIT PRICE              TOTAL
Accommodation Fee: [04/30] - [05/04] @ Kasa [Chicago
                                                                                              $551.00
South Loop]
                                                                                                $0.00

                                                                                                $0.00

                                                                                                $0.00

Remarks / Payment Method:                                                  SUBTOTAL           $551.00

                                                                           DISCOUNT           -$55.10

                                                             SUBTOTAL AFTER DISCOUNT          $495.90

                                                                                  TAX         $116.04


                                                                     Amount Paid           $611.94
                                                      3:20-cv-03233-SEM-TSH # 148-1                                Page 30 of 34

                                                                   EMISOR                                                                      FACTURA C33 - 33465
                                                                   Razón Social:      PEÑON S. DE R.L. DE C.V.                      Tipo Comprobante: I - Ingreso
                                                                   RFC:               PE&620117SL5                                            Certificado: 00001000000502699277
                                                                   Régimen Fiscal:    601 - General de Ley Personas Morales               Fecha Emisión: 2021-05-06 13:54:10
                                                                   Dirección:         Sinaloa No. Ext.31 Col.Peñon de los          No. Certificado SAT: 00001000000503727538
                                                                                      Baños Venustiano Carranza Ciudad de
                                                                                      Mexico C.P 15520                                       Folio (UUID): B6A9CEE2-F6B1-4EE0-B197-
                                                                                                                                                           774F612A8BE6
                                                                                                                                Fecha de Certificación: 2021-05-06 13:54:12
                                                                                                                                SUCURSAL
                                                                                                                                Nombre:                     Courtyard Mexico City Airport -
                                                                                                                                                            Courtyard By Marriott Mexico City
                                                                                                                                                            Airport
                                                                                                                                Lugar de Expedición:        15520
                                                                                                                                Dirección:                  Sinaloa No. Ext.31 Col. Peñon de
                                                                                                                                                            los Baños Venustiano Carranza
                                                                                                                                                            Ciudad de Mexico


RECEPTOR
Nombre:                   Chung Chui Wan
RFC:                      XEXX010101000
Uso CFDI:                 G03 - Gastos en general
DATOS HUESPED
Huesped:                           Wan, Chung Chui                 Check In:                       2021-05-04                   Check Out:                       2021-05-06
Folio:                             446772                          Habitación:                     210                          Reservación:
PRODUCTOS Y SERVICIOS
Clave             Número de          Cantidad         Clave    Unidad     Descripción                                 Precio Unitario          Descuento             Impuesto          Importe
Producto          Identificación
81112100 -        07                 1                E48      Unidad     81112100 Internet (1)                                 $65.53               0.00          002 - IVA            $65.53
Servicios de                                                   de                                                                                              Base:$65.53
internet                                                       servicio                                                                                      Tasa: 0.160000
                                                                                                                                                             Importe: $10.48
                                                                                                                                                                Factor: Tasa
90111501 -        01                 1                ROM      Habitaci   90111500 Hospedaje (2)                              $5,820.63              0.00          002 - IVA         $5,820.63
Hoteles                                                        ón                                                                                            Base:$5,820.63
                                                                                                                                                             Tasa: 0.160000
                                                                                                                                                             Importe: $931.3
                                                                                                                                                                Factor: Tasa
                                                                                                                                                       Subtotal:                     $5,886.16
                                                                                                                                                     Descuento:                            0.00
                                                                                                                                                IVA (0.160000%):                       $941.78
                                                                                                                                                              ISH:                     $203.72
Importe con letra:       SIETE MIL TREINTA Y UN PESOS 66/100 M.N.                                                                            Total Comprobante:                      $7,031.66

  Método de Pago:                        PUE - Pago en una sola exhibición                                                                                   Total a Pagar:          $7,031.66
  Forma de Pago:                         04 - Tarjeta de crédito
  Moneda:                                MXN - Peso Mexicano
  Tipo Cambio                            1
  RFC Proveedor Certificado              SAD110722MQA
Notas:
Cargos de servicio son a la discreción del huésped y son para el beneficio del personal elegible.
SELLO DIGITAL DEL CFDI
gq7tYwENUcUk6Zx4Jlqo3n5n05IYW6ZDDwWh8GhdfQaOjhOQoeQkR/T1TXzNNgPoPFN4K5F4r3DSFPh4PQzXM2KG8yfpGXmDT9l6gkQTn58SpFDBCNHoeymVCWxw
hzDmPrL77M3Yno06keh5+mnvznJHDoQaSUcsz7varDrdCT6PrbxerLdqm1OYDM4GjqyjbmQgyhRwXrdnpH/jgflMdOhKuxxR2FPCGqI+3VZoR1Jhw9AGw3pugBeTrKUCD
H/4BXXx6uZWlb5m+3l/TU3qBfFhEno6SAS7Ci3xL6Vm/ZsiwiSh+vGBGaE3hDr3hjQJCWM/b54S+mlqpinxk61ZkQ==
SELLO DIGITAL
UFT0prkhZRPPCoQbMUKxG7J4BiH7buh5XOLATZ5WmmucABANl6DywpsG684Pi0hDUIR2ofGQo6TFwtYV3zy82J7jysiICCIRAcnQJWHdKaYhQUjmuzKBQxsCobVtqDqh
CxSY3VdxRZXwaKU0ZmRVz4aHUADL1zO3eC5w6m9bxIW2C6J+dQ5yL/2BslNNwDVlnSxLQLkyTbMijh9Ie05hk/WlmEsFUP7k54sGkfZvJFJaTrxjaNIEm+KSzhdBwZ/dpH
Xl0VHkY8/mbYf//Kz+VN1i9X9Y9reK1grj/vNXa1KVX/KxaveH0EpQwlADaVi9TmQ5sHDK0vpF+g5M5Q2IjA==
CADENA ORIGINAL DEL COMPLEMENTO DE CERTIFICACIÓN DIGITAL DEL SAT
||1.1|B6A9CEE2-F6B1-4EE0-B197-774F612A8BE6|Thu May 06 13:54:12 CDT
2021|SAD110722MQA|gq7tYwENUcUk6Zx4Jlqo3n5n05IYW6ZDDwWh8GhdfQaOjhOQoeQkR/T1TXzNNgPoPFN4K5F4r3DSFPh4PQzXM2KG8yfpGXmDT9l6gkQTn58Sp
FDBCNHoeymVCWxwhzDmPrL77M3Yno06keh5+mnvznJHDoQaSUcsz7varDrdCT6PrbxerLdqm1OYDM4GjqyjbmQgyhRwXrdnpH/jgflMdOhKuxxR2FPCGqI+3VZoR1Jhw
9AGw3pugBeTrKUCDH/4BXXx6uZWlb5m+3l/TU3qBfFhEno6SAS7Ci3xL6Vm/ZsiwiSh+vGBGaE3hDr3hjQJCWM/b54S+mlqpinxk61ZkQ==|00001000000503727538||




         ESTE DOCUMENTO ES UNA REPRESENTACIÓN IMPRESA DE UN CFDI – VERSION 3.3                                     ADVANS_2                                         Página 1 de 1
                                                 3:20-cv-03233-SEM-TSH # 148-1                                                 Page 31 of 34




                                                                        HOTEL CONFIRMATION
Thank you for choosing Regal Airport Hotel. Please find below details of your reservation.

                                                                                                        Date of Booking / Amendment / Cancellation:                                06-MAY-21

     Reservation Confirmation                                                             Amendment                                                        Cancellation

 Attention :                 925 Club (membership no. :                                             )
 Contact Name :                                    Ms Wan                                               Company / Agent Name:
 Telephone No. :                                                                                                                 Fax /                      cwan75@gmail.com
                                                                                                                              Email :
           Surname                                                           First Name                                                                           Confirmation No.
  1)        Ms Wan                                                           Chung Chui                                                                           9530042
             Regal Rewards (membership no. :                                                        )
  2)        Mr      Debolt                                                     Tyler James

  3)        Ms      Debolt                                                     Abby Thea

  4)

 *Please provide your Regal Rewards membership number. If you are not a member, please feel free to inquire the details upon your arrival.
 No. of Room:                  1                                                                 Room Type:               Deluxe Suite with 1bedroom on Top Floor
 Room Rate:              HKD 3,460                                                               No. of Persons:                      3
                                                                                                 Arrival Date:                07-MAY-21                 Flight:      NH1929             Time    13:40
                                                                                                 Departure Date:              28-MAY-21                 Flight:                         :Time
                                                                                                                                                                                        :
       Room Only              Include Daily 3 Meals                     1 Person             2 Persons           3 Persons             4 Persons
 Hotel Official Check-in Time: 1500 hours / Check-out Time: 1200 hours
 Request:                      Twin bed                 Queen bed                        Baby cot                Connecting                High floor
                               Others ( Please specify ) Extra bed
                          Request of Preference is subject to hotel's availability and confirmation.
 Regal Airport Hotel is a smoke-free hotel. You will be liable for a cleaning fee of HKD2,000 for smoking in room.
 All rates quoted are in Hong Kong Dollar and subject to 10% service charge and prevailing government tax, unless otherwise quoted.
  Payment:             Guest Own Account                                                                     Third Party Payment (Separate payment authorization form
                       Company Account                                                                       and credit card both sides copy is required)
                                                                                                                Room Only         All Expenses       Room & Breakfast
                            Room Only             All Expenses             Room & Breakfast

                            Send Bill (need prior arrangement with hotel)

 Guarantee:           Deposit Paid                                                                                     Company Account
                      Credit Card                                                                                      Guaranteed by Company (signature with company chop)
                      Name printed on Credit Card : Wan                                Chung Chui
                      Card Type                                :
                      Credit Card Number                       :
                      Card Expiry Date                         :                                                       Please sign with company chop
 * Booking without guarantee will be released automatically

 Terms & Conditions:
 - Please note that any change in the length of stay or dates of your reservation may result in a rate change.
 - NO Cancellation/Amendment is allowed.
 - Credit card guarantee or prepayment as per specific rate plan is required for all reservations. Otherwise, hotel reserves the final right to release the booking without prior notice.



 Remarks:
 Contact Person: Reservations Department                            Tel: (852) 2286 8688                         Fax: (852) 2286 8622                   Email: stay@airport.regalhotel.com

                                               9 Cheong Tat Road, Hong Kong International Airport, Chek Lap Kok, Hong Kong
                                                                                 香港赤鱲角香港國際機場暢達路9號
                          Tel: (852) 2286 8888               Fax: (852) 2286 8686               Email: info@airport.regalhotel.com                   Website: www.regalhotel.com
                                    3:20-cv-03233-SEM-TSH # 148-1                                                       Page 32 of 34




Your receipt from Airbnb
Receipt ID: RCTPDDJKZM · Oct 15, 2020




         Sullivan                                                                                         Price breakdown

         4 nights in Sullivan                                                                             $2,170.01 x 4 nights                                        $8,680.04

                                                                                                          Cleaning fee                                                   $387.50
         Mon, Nov 2, 2020             Fri, Nov 6, 2020
                                                                                                          Service fee                                                  $1,280.15
         Entire home/apt · 4 beds · 4 guests
         974 County Road 1300 East                                                                        Occupancy taxes and fees                                       $541.96
         Sullivan, IL 61951
         United States
                                                                                                          Total (HKD)                                                $10,889.65
         Hosted by Caitlin Veatch

         Confirmation code: HMBDKYQ9QA
         Go to itinerary · Go to listing

         Traveler: Chung Wan


         Cancellation policy                                                                              Payment
         Cancel before 4:00 PM on Oct 28 and get a full refund. After that,
         cancel before 3:00 PM on Nov 2 and get a 50% refund, minus the first
         night and service fee. More details
                                                                                                          VISA •••• 9564                                             $10,889.65
                                                                                                          Oct 15, 2020 · 11:46PM +00:00
         Cutoff times are based on the listing’s local time


                                                                                                          Amount paid (HKD)                                          $10,889.65


         Have a question?
         Visit the Help Center




Occupancy taxes
Occupancy Taxes include Accommodations Tax (Illinois), General Sales and Use Tax (Illinois), Accommodations Tax (Illinois), General Sales and Use Tax (Illinois), General Sales and
Use Tax (Illinois).

Airbnb Payments UK Ltd.
Airbnb Payments is a limited payment collection agent of your Host. It means that upon your payment of the Total Fees to Airbnb Payments, your payment obligation to your Host
is satisfied. Refund requests will be processed in accordance with: (i) the Host's cancellation policy (available on the Listing); or (ii) Airbnb's Guest Refund Policy Terms, available at
www.airbnb.com/terms. Questions or complaints: contact Airbnb Payments UK Ltd. at +44 203 318 1111.

Security Deposit
Your Host requires a Security Deposit of $3875 HKD to book this listing. The Guest is responsible for the amount of the Security Deposit, but it will not be charged unless the host
makes a claim. Hosts can make a claim on the deposit within 14 days of your checkout date or before the next guest checks in, whichever is earlier. If a claim is initiated, Airbnb
Customer Service will be in contact with both you and your Host to make sure both parties are represented fairly. Additional details regarding the Security Deposit are available at
https://www.airbnb.com/help/article/140.



Payment processed by:                                                                         Airbnb Ireland UC
Airbnb Payments UK Ltd.                                                                       The Watermarque Building
40 Compton St., London, EC1V 0AP                                                              South Lotts Road, Ringsend, Dublin 4
United Kingdom                                                                                Ireland
                                                                                              VAT Number: IE 9827384L
                                                                                              www.airbnb.com
                                    3:20-cv-03233-SEM-TSH # 148-1                                                       Page 33 of 34




Your receipt from Airbnb
Receipt ID: RC8WMTKBSQ · Oct 16, 2020




        Chicago                                                                                           Price breakdown

        5 nights in Chicago                                                                               $1,962.31 x 5 nights                                          $9,811.55

                                                                                                          Cleaning fee                                                   $844.75
        Fri, Nov 6, 2020           Wed, Nov 11, 2020
                                                                                                          Service fee                                                  $1,504.44
        Entire home/apt · 4 beds · 4 guests
        1838 N Lincoln                                                                                    Occupancy taxes and fees                                     $2,493.36
        Chicago, IL 60614
        United States
                                                                                                          Total (HKD)                                                $14,654.10
        Hosted by Noemi Kopp-Tanaka

        Confirmation code: HMZDYPNY4R
        Go to itinerary · Go to listing

        Traveler: Chung Wan


        Cancellation policy                                                                               Payment
        Cancel before 3:00 PM on Nov 1 and get a full refund. After that,
        cancel before 3:00 PM on Nov 6 and get a 50% refund, minus the first
        night and service fee. More details
                                                                                                          VISA •••• 9564                                              $14,654.10
                                                                                                          Oct 16, 2020 · 12:52AM +00:00
        Cutoff times are based on the listing’s local time


                                                                                                          Amount paid (HKD)                                          $14,654.10


        Have a question?
        Visit the Help Center




Occupancy taxes
Occupancy Taxes include Lodging Tax (Chicago), Occupancy Tax (Chicago), Hotel Tax (Chicago), General Sales and Use Tax (Chicago), Accommodations Tax (Chicago), Lodging
Surcharge (Chicago), Accommodations Tax (Illinois), General Sales and Use Tax (Illinois), Accommodations Tax (Cook), Lodging Tax (Chicago), Occupancy Tax (Chicago), Hotel Tax
(Chicago), General Sales and Use Tax (Chicago), Accommodations Tax (Chicago), Lodging Surcharge (Chicago), Accommodations Tax (Illinois), General Sales and Use Tax (Illinois),
Accommodations Tax (Cook), Lodging Surcharge (Chicago), General Sales and Use Tax (Illinois), Accommodations Tax (Cook).

Airbnb Payments UK Ltd.
Airbnb Payments is a limited payment collection agent of your Host. It means that upon your payment of the Total Fees to Airbnb Payments, your payment obligation to your Host
is satisfied. Refund requests will be processed in accordance with: (i) the Host's cancellation policy (available on the Listing); or (ii) Airbnb's Guest Refund Policy Terms, available at
www.airbnb.com/terms. Questions or complaints: contact Airbnb Payments UK Ltd. at +44 203 318 1111.

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Customer Service will be in contact with both you and your Host to make sure both parties are represented fairly. Additional details regarding the Security Deposit are available at
https://www.airbnb.com/help/article/140.



Payment processed by:                                                                         Airbnb Ireland UC
Airbnb Payments UK Ltd.                                                                       The Watermarque Building
40 Compton St., London, EC1V 0AP                                                              South Lotts Road, Ringsend, Dublin 4
United Kingdom                                                                                Ireland
                                                                                              VAT Number: IE 9827384L
                                                                                              www.airbnb.com
                                     3:20-cv-03233-SEM-TSH # 148-1                                                      Page 34 of 34




Your receipt from Airbnb
Receipt ID: RCQC54ZBAR · Oct 15, 2020




         Effingham                                                                                        Price breakdown

         5 nights in Effingham                                                                            $1,041.60 x 5 nights                                        $5,208.00

                                                                                                          Cleaning fee                                                  $1,271.01
         Wed, Nov 11, 2020             Mon, Nov 16, 2020
                                                                                                          Service fee                                                    $914.66
         Entire home/apt · 4 beds · 4 guests
         15325 North Cardinal Lane                                                                        Occupancy taxes and fees                                       $387.27
         Effingham, IL 62401
         United States
                                                                                                          Total (HKD)                                                 $7,780.94
         Hosted by Evolve Vacation Rental .

         Confirmation code: HMFXX3KN2R
         Go to itinerary · Go to listing

         Traveler: Chung Wan


         Cancellation policy                                                                              Payment
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